                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 1 of 23 Page ID #:207




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        ERIC Y. KIZIRIAN, SB# 210584
                      2   E-Mail: Eric.Kizirian@lewisbrisbois.com
                        MICHAEL K. GRIMALDI, SB# 280939
                      3   E-Mail: Michael.gr@lewisbrisbois.com
                        ZOURIK ZARIFIAN, SB# 306368
                      4   E-Mail: Zourik.Zarifian@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      5 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      6 Facsimile: 213.250.7900
                      7 Attorneys for Defendant
                        TESLA, INC.
                      8
                      9
                                                              UNITED STATES DISTRICT COURT
                     10
                                              CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                     11
                     12
                        HUGH NGUYEN, TODD WOLVEN, IAN                             Case No. 8:19-CV-01422-JLS-JDE
                     13 ELLWOOD, E’RIKA BROCK, individuals,
                        on behalf of themselves and all others
                     14 similarly situated,                                       TESLA’S NOTICE OF MOTION AND
                                                                                  MOTION TO COMPEL ALL PLAINTIFFS
                     15                      Plaintiffs,                          TO INDIVIDUAL ARBITRATION AND TO
                                                                                  DISMISS THE ACTION
                     16             VS.
                                                                                  Concurrently filed with the Declarations
                     17 TESLA, INC., a Delaware corporation,                      of Jasjit Ahluwalia and Victor Barclay
                                                                                  and Proposed Order
                     18                      Defendant.
                                                                                  Date:             January 31, 2020
                     19                                                           Time:             10:30 a.m.
                                                                                  Courtroom.:       10A
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5
ATTORNEYS AT LAW
                                                           TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 2 of 23 Page ID #:208




                      1                                  NOTICE OF MOTION TO COMPEL
                      2            PLEASE TAKE NOTICE that on that on January 31, 2020, at 10:00 a.m. or as
                      3 soon thereafter as the matter may be heard before the Honorable Josephine L.
                      4 Staton, Courtroom 10A, of the above-entitled Court, located at 411 W. Fourth
                      5 Street, Santa Ana, CA 92701, Tesla, Inc. (“Tesla”), will and hereby does move this
                      6 Court as follows:
                      7            1.        For an order compelling plaintiffs Hugh Nguyen, Todd Wolven, E’rika
                      8 Brock, and Ian Ellwood (together “plaintiffs”) to submit their claims to final and
                      9 binding individual arbitration under the terms of the Arbitration Agreements
                     10 between plaintiffs and Tesla; and
                     11            2.        For an order dismissing this action after plaintiffs are compelled to
                     12 individual arbitration.
                     13            Tesla makes this motion under the Federal Arbitration Act, 9 U.S.C. §§ 1-16,
                     14 on the grounds that plaintiffs and Tesla entered into valid and enforceable arbitration
                     15 agreements that fully encompass each cause of action alleged in plaintiffs’ First
                     16 Amended Class Action Complaint and require individual arbitration of each
                     17 plaintiff’s claims.
                     18            This motion is made after the Local Rule 7-3 telephonic meet and confer,
                     19 which occurred on November 18, 2019 between Edward Chen (counsel for
                     20 plaintiffs) and Michael Grimaldi (counsel for Tesla). After a full discussion of this
                     21 motion (including the factual and legal basis for same), the parties could not reach a
                     22 resolution that obviated the need for this this motion.
                     23 //
                     24 //
                     25 //
                     26 //
                     27 //

LEWIS                28 //
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                                  1
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 3 of 23 Page ID #:209




                      1            This Motion is based upon this Notice, the accompanying Memorandum of
                      2 Points and Authorities in support thereof, the declarations of Victor Barclay and
                      3 Jasjit Ahluwalia, all papers and pleadings filed in this action, and any other evidence
                      4 and argument as may be presented in connection with the hearing on the Motion.
                      5
                      6 DATED: December 4, 2019                 LEWIS BRISBOIS BISGAARD & SMITH                  LLP

                      7
                      8
                                                                By:
                      9
                                                                      Eric Y. Kizirian
                     10                                               Attorneys for Tesla
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                             2                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                 TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 4 of 23 Page ID #:210




                      1                                                  TABLE OF CONTENTS
                      2                                                                                                                            Page
                      3
                          I.       Introduction ....................................................................................................... 1
                      4
                          II.      Summary of Pertinent Facts .............................................................................. 2
                      5
                          III.     Argument ........................................................................................................... 7
                      6
                                   A.        The FAA Requires that Courts Enforce the Parties’ Arbitration
                      7                      Agreement According to Its Terms......................................................... 7
                      8                      1.       The Arbitration Agreement Is Enforceable. ................................. 8
                      9                      2.       Plaintiffs’ Agreement to Arbitrate “Any Dispute” with
                                                      Tesla Indisputably Encompasses Their Claims Here. ................ 11
                     10
                                             3.       The Arbitration Must Be Limited to Plaintiffs’ Individual
                     11                               Claims. ........................................................................................ 12
                     12            B.        The Arbitration Agreement Is Not Unconscionable. ............................ 12
                     13                      1.       The Arbitration Agreement Is Not Procedurally
                                                      Unconscionable........................................................................... 13
                     14
                                             2.       The Arbitration Agreement Is Not Substantively
                     15                               Unconscionable........................................................................... 14
                     16 IV.        The Court Should Dismiss the Case So the Parties Can Bilaterally
                                   Arbitrate. .......................................................................................................... 15
                     17
                          V.       Conclusion ....................................................................................................... 16
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                                         i
ATTORNEYS AT LAW
                                                            TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 5 of 23 Page ID #:211




                      1                                         TABLE OF AUTHORITIES
                      2
                      3                                                           Cases
                      4 A.V. v. iParadigms,
                                544 F. Supp. 2d 473 (E.D. Va. 2008) ............................................................. 11
                      5
                        Alford v. Dean Witter Reynolds, Inc.,
                      6         975 F.2d 1161 (5th Cir. 1992) ........................................................................ 15
                      7 AT&T Mobility LLC v. Concepcion,
                              563 U.S. 333 (2011) ......................................................................... 7, 9, 12, 16
                      8
                        Bagley v. Mt. Bachelor, Inc.,
                      9       356 Ore. 543, 340 P.3d 27 (2014) .................................................................. 13
                     10 Beard v. PayPal, Inc.,
                               No. 09-1339-JO, 2010 WL 654390 (D. Or. Feb. 19, 2010)........................... 10
                     11
                        Cairo, Inc. v. Crossmedia Servs., Inc.,
                     12        2005 WL 756610 (N.D. Cal. Apr. 1, 2005) ................................................... 10
                     13 Comedy Club, Inc. v. Improv W. Assocs.,
                               553 F.3d 1277 (9th Cir. 2009) .......................................................................... 8
                     14
                        Cox v. Ocean View Hotel Corp.,
                     15        533 F.3d 1114 (9th Cir. 2008) .......................................................................... 8
                     16 First Options of Chi., Inc. v. Kaplan,
                               514 U.S. 938 (1995) ......................................................................................... 8
                     17
                        Fteja v. Facebook, Inc.,
                     18        841 F. Supp. 2d 829 (S.D.N.Y. 2012) ............................................................ 10
                     19 Gray v. Toyota Motor Sales, U.S.A., Inc.,
                              554 Fed. App’x 608 (9th Cir. 2014) ................................................................. 1
                     20
                        Howsam v. Dean Witter Reynolds,
                     21       537 U.S. 79 (2002) ........................................................................................... 7
                     22 In re Holl,
                               925 F.3d 1076, 1083 (9th Cir. 2019) .............................................................. 10
                     23
                        Johnmohammadi v. Bloomingdale’s, Inc.,
                     24        755 F.3d 1072 (9th Cir. 2014) ........................................................................ 15
                     25 Knezovich v. DirecTV, L.L.C.,
                              No. 4:17-cv-00165-MWB, 2017 U.S. Dist. LEXIS 170111 (D. Idaho
                     26      Oct. 13, 2017) .................................................................................................. 10
                     27 KPMG LLP v. Cocchi,
                            565 U.S. 18 (2011) ........................................................................................... 8
LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                     ii                                        8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                          TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 6 of 23 Page ID #:212




                      1 Lagatree v. Luce, Forward, Hamilton & Scripps LLP,
                              74 Cal. App. 4th 1105 (1999) ......................................................................... 13
                      2
                        Lamps Plus, Inc. v. Varela,
                      3       139 S. Ct. 1407 (2019) ..................................................................................... 7
                      4 Loewen v. Lyft, Inc.,
                              129 F. Supp. 3d 945 (N.D. Cal. 2015) ........................................................... 15
                      5
                        Lovey v. Regence Blueshield of Idaho,
                      6       139 Idaho 37 (2003) ....................................................................................... 12
                      7 Meyer v. Uber Techs., Inc.,
                              868 F.3d 66 (2d Cir. 2017) ................................................................... 9, 10, 11
                      8
                        Miguel v. JPMorgan Chase Bank, N.A.,
                      9       2013 U.S. Dist. LEXIS 16865 (C.D. Cal. Feb. 5, 2013) ................................ 13
                     10 Mortensen v. Bresnan Commc’ns, LLC,
                              722 F.3d 1151 (9th Cir. 2013) .......................................................................... 7
                     11
                        Paduano v. Am. Honda Motor Co., Inc.,
                     12       169 Cal. App. 4th 1453 (2009) ......................................................................... 1
                     13 Perry v. Thomas,
                               482 U.S. 483 (1987) ......................................................................................... 8
                     14
                        Sanchez v. Valencia Holding Co., LLC,
                     15        61 Cal. 4th 899 (2015).................................................................................... 13
                     16 Sanders v. Certified Car Ctr., Inc.,
                               93 Va. Cir. 404 (Cir. Ct. 2016)....................................................................... 12
                     17
                        Serpa v. Cal. Surety Investigations, Inc.,
                     18        215 Cal. App. 4th 695 (2013) ......................................................................... 14
                     19 Swift v. Zynga Game Network, Inc.,
                               805 F. Supp. 2d 904 (N.D. Cal. 2011) ........................................................... 10
                     20
                        Wiseley v. Amazon.Com, Inc.,
                     21        709 F. App’x 862 (9th Cir. 2017)................................................................... 10
                     22 Witter Reynolds, Inc. v. Byrd,
                               470 U.S. 213 (1985) ......................................................................................... 8
                     23
                     24                                                 Statutory Authorities
                     25 15 U.S.C. § 2301.......................................................................................................... 2
                     26 Cal. Bus. & Prof. Code § 17200 et seq ........................................................................ 2
                     27 Cal. Bus. & Prof. Code § 17500 et seq ........................................................................ 2

LEWIS                28 Cal. Civ. Code § 1750 et seq ....................................................................................... 2
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                      iii                                        8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                           TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 7 of 23 Page ID #:213




                      1 Cal. Civ. Code § 1790 et seq ....................................................................................... 2
                      2 Cal. Civ. Code § 3294.................................................................................................. 2
                      3 Cal. Civ. Code §§ 1709-10 .......................................................................................... 2
                      4 Cal. Veh. Code § 11713 et seq .................................................................................... 2
                      5 Federal Arbitration Act, 9 U.S.C. §§ 1-16............................................................... 1, 7
                      6
                                                                       Rules and Regulations
                      7
                          Federal Trade Commission Act (Used Motor Vehicle Regulation Rule, 16
                      8         C.F.R. § 455 ....................................................................................................... 2
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                                       iv                                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                           TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 8 of 23 Page ID #:214




                      1                                       INTRODUCTION
                      2            Plaintiffs are consumers from four states who purchased used electric vehicles
                      3 from Tesla. As part of their used-vehicle purchases, plaintiffs expressly agreed to
                      4 arbitrate any dispute “arising out of or relating to any aspect of [their] relationship”
                      5 with Tesla. Declaration of Victor Barclay (“Barclay Decl.”) ¶¶2-4 (“Arbitration
                      6 Agreement”). Plaintiffs also waived any right to sue on behalf of “any class” or to
                      7 pursue a “representative action.” Id.
                      8            Plaintiffs filed this lawsuit in violation of their express agreement. Their
                      9 nearly 100-page First Amended Complaint (“FAC”) seeks individual and class relief
                     10 under twenty-three misguided and thinly-pled warranty and consumer protection
                     11 claims. Plaintiffs claim that Tesla breached warranties and violated various laws
                     12 because the batteries in their used Tesla vehicles provide less driving range than the
                     13 EPA-approved “driving range” estimate that Tesla (like all automakers) uses to
                     14 approximate the range of its vehicles. But as Tesla makes clear on its website,1
                     15 these EPA ranges are not range guarantees,2 and there is no cognizable cause of
                     16 action for publicizing EPA-approved range estimates.3 Plaintiffs’ throw-in claims,
                     17
                     18   1
                               Tesla’s used vehicle listings explain that EPA range is “based on testing new
                     19 vehicles to EPA standards. Vehicle range may change depending on battery age and
                        condition, vehicle configuration, driving style, environmental and climate change.”
                     20
                        https://www.tesla.com/inventory/used/ms (click on any listing). Similar disclosures
                     21 have been in place at all relevant times.
                          2
                     22       See https://www.fueleconomy.gov/feg/label/learn-more-electric-label.shtml
                        (“Driving Range When the vehicle is fully charged, this value represents the
                     23 approximate number of miles that can be travelled in combined city and highway
                     24 driving before the vehicle must be recharged.” (emphasis in original)).
                          3
                     25        See, e.g., Gray v. Toyota Motor Sales, U.S.A., Inc., 554 Fed. App’x 608, 609
                        (9th Cir. 2014) (“California law does not recognize a cause of action for publicizing
                     26 EPA fuel economy estimates and omitting further explanation.”); Paduano v. Am.
                     27 Honda Motor Co., Inc., 169 Cal. App. 4th 1453, 1470-71, (2009) (“As a matter of
                        law, there is nothing false or misleading about Honda’s advertising with regard to its
LEWIS                28 (footnote continued)
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                               1
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 9 of 23 Page ID #:215




                      1 alleging violations of the FTC “Used Car Rule” and certain California Vehicle Code
                      2 sections are also meritless, as Tesla will show at the appropriate time.
                      3            Critically, however, each of plaintiffs’ claims “aris[es] out of or relat[es] to”
                      4 their “relationship” with Tesla and thus, is covered by their Arbitration
                      5 Agreements.4         Under the terms of those agreements, as well as the Federal
                      6 Arbitration Act, plaintiffs should be compelled to arbitrate all of their claims on an
                      7 individual basis, and the case should be dismissed.
                      8 I.         SUMMARY OF PERTINENT FACTS
                      9            Tesla sells new and used electric vehicles on its website and in Tesla-owned
                     10 stores. See https://www.tesla.com/inventory/used/ms. Plaintiffs each purchased a
                     11
                     12
                        statements that identify the EPA fuel economy estimates for the two Civic Hybrid
                     13 models,” where plaintiff’s vehicle allegedly achieved a much lower fuel economy).
                          4
                     14         The FAC asserts claims for/under (1) the Magnuson-Moss Warranty Act (15
                          U.S.C. § 2301, et seq.); (2) Federal Trade Commission Act (Used Motor Vehicle
                     15
                          Regulation Rule, 16 C.F.R. § 455, et seq.); (3) Song-Beverly Consumer Warranty
                     16   Act (Cal. Civ. Code § 1790 et seq.); (4) Vehicle Code § 11713 et seq.; (5) Vehicle
                          Code § 11713.21 (Cal. Car Buyer’s Bill of Rights, FFVR 35); (6) Consumers Legal
                     17
                          Remedies Act (Cal. Civ. Code § 1750 et seq.); (7) Unfair Competition Law (Cal.
                     18   Bus. & Prof. Code § 17200 et seq.); (8) False Advertising Law (Cal. Bus. & Prof.
                     19   Code § 17500 et seq.); (9) Breach of Express Warranty (Cal. Com. Code § 2313);
                          (10) Breach of Implied Warranties (Cal. Com. Code § 2314); (11) Intentional
                     20   Misrepresentation (Cal. Civ. Code §§ 1709-10); (12) Negligent Misrepresentation
                     21   (Cal. Civ. Code §§ 1709-10); (13) Fraud by Concealment (Cal. Civ. Code § 3294);
                          (14) Quasi Contract/Restitution/Unjust Enrichment (Cal. Law); (15) Idaho
                     22   Consumer Protection Act (Idaho Code § 48-601, et seq.); (16) Breach of Express
                     23   Warranty (Idaho Code §§ 28-2-313 and 28-12-210); (17) Breach of Implied
                          Warranty of Merchantability (Idaho Code §§ 28-2-314 and 28-12-212); (18) Oregon
                     24   Unlawful Trade Practices Act (Or. Rev. Stat. §§ 646.605, et seq.); (19) Breach of
                     25   Express Warranty (Or. Rev. Stat. §§ 72.3130 & 72a.2100); (20) Breach of Implied
                          Warranty of Merchantability (Or. Rev. Stat. §§ 72.3140 & 72A.2120); (21) Virginia
                     26   Consumer Protection Act (Va. Code Ann. §§ 59.1-196, et seq.); (22) Breach of
                     27   Express Warranty (Va. Code § 8.2-313 & 8.2a-210); and (23) Breach of Implied
                          Warranty of Merchantability (Va. Code §§ 8.2-314 & 8.2a-212).
LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP               4842-1735-0830.5                               2                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 10 of 23 Page ID #:216




                       1 used Model S vehicle online directly from Tesla. Declaration of Jasjit Ahluwalia
                       2 (“Ahluwalia Decl.”) ¶¶3, 8, 13, 18.5 As explained in greater detail below, each
                       3 plaintiff agreed, through at least two separate documents, to arbitrate “any dispute
                       4 arising out of or relating to any aspect of the relationship[,]” and had ample time to
                       5 review (and opt out of) the Arbitration Agreement before finalizing their purchases.
                       6            First, plaintiffs agreed to the Arbitration Agreement when they completed an
                       7 online order for a used Tesla Model S and clicked a “Place Order” button on the
                       8 website (depicted below as seen by plaintiff Nguyen on his order date) (Barclay
                       9 Decl. ¶¶2-3):
                      10 //
                      11 //
                      12 //
                      13 //
                      14 //
                      15 //
                      16 //
                      17 //
                      18 //
                      19 //
                      20
                           5
                      21          Plaintiffs allege the following facts about their purchases:
                                  In October 2017, Brock purchased a used 2013 Tesla Model S 85 vehicle and
                      22
                           picked up her car from Tesla’s showroom in Tyson’s Corner, Virginia. SAC ¶25.
                      23          In August 2018, Ellwood purchased a used Tesla Model S 70D vehicle and
                      24   picked up his car from Tesla’s showroom in Portland, Oregon. SAC ¶20.
                                  In November 2017, Nguyen purchased a used 2014 Tesla Model S vehicle
                      25
                           with nearly 76,000 miles on it and picked up his car from Tesla’s showroom in
                      26   Buena Park, California. SAC ¶¶14, 90.
                      27          In July 2019, Wolven purchased a used 2015 Tesla Model S 85, and picked
                           up his car from Tesla’s showroom in Portland, Oregon. SAC ¶17.
LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                              3                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 11 of 23 Page ID #:217




                       1
                       2
                       3
                       4
                       5
                       6
                       7
                       8
                       9
                      10
                      11
                      12
                      13
                      14
                      15
                      16
                      17
                      18
                      19
                      20
                      21 The text immediately below the “Place Order” button states: “By placing this order
                      22 you agree to the Model S Order Agreement….” Barclay Decl. ¶2. The phrase
                      23 “Model S Order Agreement” is displayed in bold red font and is a hyperlink that
                      24 opens a new Internet-browser window to reveal the “Motor Vehicle Order
                      25 Agreement” and its “Terms & Conditions.” Barclay Decl. ¶¶3-4 & Ex. A. Although
                      26 there were slight variations, the order process was substantially identical for all of
                      27 the named plaintiffs. Barclay Decl. ¶¶5-7 & Exs. C, D, E.

LEWIS                 28            The Order Agreement for each plaintiff was either three or four pages. The
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                              4                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 12 of 23 Page ID #:218




                       1 arbitration clause is prominently displayed, in a standalone text box, and reads as
                       2 follows:
                       3            Agreement to Arbitrate. Please read this provision carefully.
                                    In the event of a concern or dispute between us, please send Tesla written
                       4
                                    notice to resolutions@tesla.com describing the nature of the dispute and the
                       5            relief sought.
                       6
                                    If it is not resolved within 60 days, Tesla and you agree that any dispute
                       7            arising out of or relating to any aspect of the relationship between us will not
                                    be decided by a judge or jury but instead by a single arbitrator in an
                       8
                                    arbitration administered by the American Arbitration Association (AAA).
                       9            This includes claims arising before this Agreement, including claims related
                                    to statements about our products. Alternatively, you may opt out of arbitration
                      10
                                    as described below.
                      11
                                    The AAA Consumer Arbitration Rules will apply. We will pay all AAA fees
                      12
                                    for any arbitration. The arbitration will be held in a location most convenient
                      13            to your residence. To learn more about the Rules and how to begin an
                      14            arbitration, you may call any AAA ofﬁce or go to www.adr.org.

                      15            The arbitrator may only resolve disputes between you and Tesla on an
                      16            individual basis. The arbitrator cannot award relief for anyone who is not a
                                    party and may not consolidate claims. In other words, you and Tesla may
                      17            bring claims against the other only in your or its individual capacity and not
                      18            as a plaintiff or class member in any class or representative action.

                      19            If you prefer, you may instead take your individual dispute to small claims
                      20            court.

                      21            You may opt out within 30 days after signing this Agreement by sending a
                      22            letter to: Tesla, Inc.; P.O. Box 15430; Fremont, CA 94539-7970, stating your
                                    name and intent to opt out of the arbitration provision.
                      23
                      24 Barclay Decl. ¶¶3-4 & Exs. A-B.
                      25            Second, after plaintiffs’ initial orders, but before they took delivery of their
                      26 vehicles, Tesla made another copy of the Order Agreement available through
                      27 plaintiffs’ personal Tesla Accounts (sometimes referred to as a “MyTesla” account).

LEWIS                 28 Ahluwalia Decl. ¶¶4, 5, 9, 14, 19; see id. ¶5 (Tesla emailed plaintiff Nguyen a copy
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                               5                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                    TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 13 of 23 Page ID #:219




                       1 of his Order Agreement). The agreements provided plaintiffs with a 30-day period
                       2 to opt out of the Arbitration Agreement. Barclay Decl. ¶¶3-4 & Exs. A-B. None of
                       3 the plaintiffs did. Ahluwalia Decl. ¶¶7, 12, 17, 22.
                       4            Third, when they took delivery of their vehicles, plaintiffs physically signed
                       5 documents reaffirming their assent to the Arbitration Agreements. Plaintiff Brock
                       6 signed a “Motor Vehicle Purchase Agreement Terms & Conditions” including
                       7 Tesla’s Arbitration Agreement. Ahluwalia Decl. ¶5. And the other three plaintiffs
                       8 (Ellwood, Nguyen, Wolven) signed a “Delivery Declaration” that states “[B]Y
                       9 SIGNING BELOW, YOU AGREE THAT YOU HAVE TAKEN DELIVERY OF
                      10 YOUR MODELS ON OR BEFORE [DATE OF DELIVERY] AND THAT YOU
                      11 AGREE WITH YOUR FINAL MOTOR VEHICLE PURCHASE AGREEMENT,
                      12 WHICH HAS BEEN UPLOADED TO AND IS AVAILABLE IN YOUR
                      13 MYTESLA ACCOUNT.” Ahluwalia Decl. ¶¶6, 13, 17 & Exs. 3, 8, 11. The final
                      14 motor vehicle purchase agreements, in turn, acknowledge that the customer/plaintiff
                      15 previously “accepted” Tesla’s online offer by clicking their assent to the Order
                      16 Agreements (which contain the Arbitration Agreement).
                      17            Fourth, three of the plaintiffs had weeks between the time they placed their
                      18 order (and accepted the Order Agreement) and the time they took delivery of their
                      19 vehicles (and signed Delivery Declarations and other documents). Plaintiff Nguyen
                      20 had 23 days between his online order and his delivery (Ahluwalia Decl. ¶¶3, 6);
                      21 plaintiff Wolven had 14 days (id. ¶¶3, 6); and plaintiff Ellwood had 18 days (id.
                      22 ¶¶15, 17). None of the plaintiffs was under any time pressure, and each had ample
                      23 time to read and understand the agreement and its implications. Again, none of the
                      24 plaintiffs opted out of the Arbitration Agreements.
                      25            Finally, the arbitration clause and class action waiver are express terms of the
                      26 used-vehicle warranty plaintiffs seek to enforce. FAC ¶¶78-82. Tesla’s Used
                      27 Vehicle Limited Warranty reminds customers that “you agreed [in your Vehicle

LEWIS                 28 Order Agreement] to resolve disputes with Tesla by arbitration rather than by
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                               6                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                    TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 14 of 23 Page ID #:220




                       1 litigation in Court.”         Ahluwalia Decl. ¶20. That same Arbitration Agreement,
                       2 including the class waiver, is reprinted in the warranty “for your convenience.”
                       3 Ahluwalia Decl. ¶20.6
                       4 II.        ARGUMENT
                       5            The “overarching purpose” of the Federal Arbitration Act (“FAA”), 9 U.S.C.
                       6 § 1 et seq., is “to ensure the enforcement of arbitration agreements according to
                       7 their terms so as to facilitate streamlined proceedings.” AT&T Mobility LLC v.
                       8 Concepcion, 563 U.S. 333, 334 (2011) (“Concepcion”). Plaintiffs agreed both to
                       9 arbitrate “any dispute arising out of or relating to any aspect of the relationship”
                      10 with Tesla and to a class-action waiver. The question whether the parties have
                      11 submitted a dispute to arbitration is generally an issue for judicial determination.
                      12 Howsam v. Dean Witter Reynolds, 537 U.S. 79, 83 (2002). The Court should thus
                      13 order this case to arbitration on an individual, non-class basis.
                      14            A.        The FAA Requires Enforcement of the Parties’ Arbitration
                      15                      Agreement According to Its Terms.
                      16            The FAA applies to any arbitration agreement that is “written” and in a
                      17 contract “evidencing a transaction involving [interstate] commerce.” 9 U.S.C. §§ 1,
                      18 2. Both criteria are met here. The Arbitration Agreement is in writing. And Tesla
                      19 operates in interstate commerce, as evidenced by the complaint filed by plaintiffs
                                                                                                         7
                      20 from four different states, as well as Tesla’s nationwide and global operations.
                      21            “The FAA requires courts to enforce arbitration agreements according to their
                      22 terms.” Lamps Plus, Inc. v. Varela, 139 S. Ct. 1407, 1415 (2019). Courts must “give
                      23
                      24   6
                               To the extent the FAC invokes the “remaining battery and drive warranty”
                      25 (FAC   ¶90) under the New Vehicle Limited Warranty, that Warranty also
                         incorporates the arbitration clause and class action waiver. Ahluwalia Decl. ¶19.
                      26 7     See https://www.tesla.com/findus/list/stores/United+States;
                      27       https://www.tesla.com/findus/list/services/United+States;
                               https://www.tesla.com/factory.
LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 7                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 15 of 23 Page ID #:221




                       1 preference (instead of mere equality) to arbitration provisions.”                Mortensen v.
                       2 Bresnan Commc’ns, LLC, 722 F.3d 1151, 1160 (9th Cir. 2013). The FAA reflects
                       3 an “emphatic federal policy in favor of arbitral dispute resolution,” KPMG LLP v.
                       4 Cocchi, 565 U.S. 18, 21 (2011) (per curiam), and “where the contract contains an
                       5 arbitration clause, there is a presumption of arbitrability,” Comedy Club, Inc. v.
                       6 Improv W. Assocs., 553 F.3d 1277, 1284 (9th Cir. 2009). The Court must compel
                       7 arbitration if (1) “a valid agreement to arbitrate exists and, if it does,” (2) “the
                       8 agreement encompasses the dispute at issue.” Cox v. Ocean View Hotel Corp., 533
                       9 F.3d 1114, 1119 (9th Cir. 2008). Because both of these requirements are abundantly
                      10 met here, the FAA “leaves no place for the exercise of discretion by a district court,
                      11 but instead mandates that district courts shall direct the parties to proceed to
                      12 arbitration.” Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985).
                      13                      1.   The Arbitration Agreement Is Enforceable.
                      14             “To determine whether a valid arbitration agreement exists, federal courts
                      15 “apply ordinary state-law principles that govern the formation of contracts.” First
                      16 Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944 (1995). Thus, whether a general
                      17 contract-based defense prevents enforcement of the Arbitration Agreement is guided
                      18 by state law.
                      19            Application of state law, however, is limited by Section 2 of the FAA, which
                      20 permits arbitration agreements to be declared unenforceable only “upon such
                      21 grounds as exist at law or in equity for the revocation of any contract.” Under this
                      22 saving clause, state law may be applied to invalidate an arbitration agreement only
                      23 “[i]f that law arose to govern issues concerning the validity, revocability, and
                      24 enforceability of contracts generally.” Perry v. Thomas, 482 U.S. 483, 492 n.9
                      25 (1987). “A court may not, then, in assessing the rights of litigants to enforce an
                      26 arbitration agreement, construe that agreement in a manner different from that in
                      27 which it otherwise construes nonarbitration agreements under state law.” Id.

LEWIS                 28 Accordingly, while courts can consider “generally applicable contract defenses,
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 8                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 16 of 23 Page ID #:222




                       1 such as, fraud, duress, or unconscionability,” the FAA preempts state-law defenses
                       2 “that apply only to arbitration or that derive their meaning from the fact that an
                       3 agreement to arbitrate is at issue.” Concepcion, 563 U.S. at 339 (emphasis added).
                       4            Plaintiffs have no state-law enforceability defenses to invalidate the
                       5 arbitration clause here. As explained above, by clicking the “Place Order” button on
                       6 Tesla’s website, plaintiffs agreed to be bound by the terms of their Order
                       7 Agreement, including the Arbitration Agreement. The Order Agreement was set off
                       8 in a bold red font, making it obvious that the words “Model S Order Agreement”
                       9 was a hyperlink to the actual text of the Order Agreement. Plaintiffs thus
                      10 indisputably agreed to and were on notice of the Arbitration Agreement by virtue of
                      11 the hyperlink to the Order Agreement, and they manifested their assent to the
                      12 Agreement by clicking “Place Order.” And if there were any doubt, they received
                      13 copies of the Order Agreement, including Arbitration Agreement, in their Tesla
                      14 Accounts.
                      15            Courts across the country have upheld agreements very similar to Tesla’s.
                      16 For example, in Meyer v. Uber Techs., Inc., 868 F.3d 66 (2d Cir. 2017), the court
                      17 vacated a denial of a motion to compel arbitration, holding that the plaintiff
                      18 unambiguously “clicked” his assent to the app-based contract depicted below:
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27

LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                              9                           8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 17 of 23 Page ID #:223




                       1 Id. at 78-79 & Addendum B.               Numerous factors compelled this conclusion,
                       2 including: (1) “the transactional context of the parties’ dealings,” (2) the proximity
                       3 of the hyperlinked terms to “the mechanism for manifesting assent—i.e., the register
                       4 button,” (3) the fact that the terms were provided “simultaneously to enrollment,”
                       5 and (4) language signaling the creation of a contract (“By creating an Uber account,
                       6 you agree”). Id. at 78-80.
                       7            Likewise, in Wiseley v. Amazon.Com, Inc., 709 F. App’x 862, 864 (9th Cir.
                       8 2017), the court affirmed an order compelling arbitration of an online agreement.
                       9 The court held that the “[t]he notices on Amazon’s checkout and account
                      10 registration pages, which alerted [plaintiff] that clicking on the corresponding action
                      11 button constituted agreement to the hyperlinked [Conditions of Use], were in
                      12 sufficient proximity to give him a ‘reasonable opportunity to understand’ that he
                      13 would be bound by additional terms.” Id. (applying Washington law but stating that
                      14 the court would “reach the same result under California law”).
                      15            These cases are not isolated examples—courts commonly enforce
                      16 hyperlinked agreements,8 and have even done so when consumers are required to
                      17 take several steps and clicks to find the arbitration agreement.9 The law is no
                      18 different in each of the named plaintiffs’ home states.10
                      19
                      20   8
                                See, e.g., Swift v. Zynga Game Network, Inc., 805 F. Supp. 2d 904, 908 (N.D.
                      21 Cal. 2011) (hyperlink was colored blue); Fteja v. Facebook, Inc., 841 F. Supp. 2d
                         829, 835 (S.D.N.Y. 2012) (hyperlink was underlined); Cairo, Inc. v. Crossmedia
                      22
                         Servs., Inc., No. 04-cv-04825-JW, 2005 WL 756610, at *2 (N.D. Cal. Apr. 1, 2005)
                      23 (the hyperlink was underlined and highlighted).
                           9
                      24        In re Holl, 925 F.3d 1076, 1079, 1083 (9th Cir. 2019) (upholding enforcement
                         of arbitration clause on mandamus challenge, even though “locating the arbitration
                      25
                         clause at issue here requires several steps and a fair amount of web-browsing
                      26 intuition”).
                           10
                      27       See, e.g., Knezovich v. DirecTV, L.L.C., No. 4:17-cv-00165-MWB, 2017 U.S.
                         Dist. LEXIS 170111, at *35-36 (D. Idaho Oct. 13, 2017) (applying Idaho law and
LEWIS                 28 (footnote continued)
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                              10                          8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 18 of 23 Page ID #:224




                       1            Here, there is no question that plaintiffs assented to the Order Agreement.
                       2 The Tesla Order Agreement shares all of the core features that compelled
                       3 enforcement of the arbitration agreement in Meyer and Wiseley. Specifically, as
                       4 depicted again below, Tesla’s hyperlinked terms are presented in a patently
                       5 commercial context, are located immediately below the “Place Order” button that
                       6 signals assent, and are presented with language signaling the creation of a contract
                       7 (“By placing this order you agree to the Model S Order Agreement”):
                       8
                       9
                      10
                      11 But far more, three of the plaintiffs subsequently reaffirmed their assent by signing a
                      12 delivery declaration stating they “agree” with their “final motor vehicle purchase
                      13 agreement” uploaded to their Tesla Account. The fourth, plaintiff Brock, physically
                      14 signed a second copy of his Motor Vehicle Purchase Agreement that included the
                      15 Arbitration Agreement. There is no question that plaintiffs assented to the
                      16 Arbitration Agreements at issue here.
                      17                      2.   Plaintiffs’ Agreement to Arbitrate “Any Dispute” with Tesla
                      18                           Indisputably Encompasses Their Claims Here.
                      19            Plaintiffs agreed multiple times to arbitrate “any dispute arising out of or
                      20 relating to any aspect of the relationship between [plaintiffs and Tesla].” This broad
                      21 language indisputably covers plaintiffs’ claims regarding their battery range and for
                      22
                      23 compelling arbitration, and noting “rule in Idaho is well established that a party’s
                         failure to read a contract will not excuse his performance”); Beard v. PayPal, Inc.,
                      24 No. 09-1339-JO, 2010 WL 654390, at *1 (D. Or. Feb. 19, 2010) (applying Oregon
                      25 law and enforcing “clickwrap” agreement where plaintiffs had access to the all
                         terms and conditions on defendant’s website); A.V. v. iParadigms, 544 F. Supp. 2d
                      26 473, 479-80 (E.D. Va. 2008) (applying Virginia law and enforcing terms of online
                      27 clickwrap agreement and noting “a contract is no less a contract simply because it is
                         entered into via a computer”).
LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 11                          8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 19 of 23 Page ID #:225




                       1 alleged technical violations of FTC’s “used car rule” and the California Vehicle
                       2 Code in connection with the sale of their vehicles. These claims clearly arise from
                       3 plaintiffs’ relationship with Tesla, and are covered by the Arbitration Agreement.
                       4                      3.   The Arbitration Must Be Limited to Plaintiffs’ Individual
                       5                           Claims.
                       6            Class arbitration is “not arbitration as envisioned by the FAA” and “lacks its
                       7 benefits.” Concepcion, 563 U.S. at 351. Accordingly, the Arbitration Agreement
                       8 includes an express class-action waiver, which states:
                       9            The arbitrator may only resolve disputes between you and Tesla on an
                                    individual basis. The arbitrator cannot award relief for anyone who is not a
                      10
                                    party and may not consolidate claims. In other words, you and Tesla may
                      11            bring claims against the other only in your or its individual capacity and not
                                    as a plaintiff or class member in any class or representative action.
                      12
                      13 Barclay Decl. ¶¶3-4 & Exs. A-B.
                      14            Plaintiffs are bound by the class-action waivers they accepted. Any contrary
                      15 interpretation would interfere with the fundamental attributes of the “streamlined”
                      16 bilateral proceedings the parties bargained for. And as Concepcion confirms, the
                      17 FAA bars a court from applying a “generally applicable” state doctrine “in a fashion
                      18 that disfavors arbitration.” Concepcion, 563 U.S. at 341.
                      19            B.        The Arbitration Agreement Is Not Unconscionable.
                      20            As with contract formation issues (see Section III(A)(1)), a contract defense
                      21 of unconscionability is governed by state law.                    To prove unconscionability,
                      22 plaintiffs must show the Arbitration Agreement is both procedurally and
                      23 substantively unconscionable.            Kilgore, 718 F.3d at 1058 (applying California
                      24 law).11         The procedural aspect of unconscionability focuses on oppression or
                      25
                      26   11
                               See also, e.g., Lovey v. Regence Blueshield of Idaho, 139 Idaho 37, 42
                      27 (2003) (“For a contract or contractual provision to be voided as unconscionable, it
                         must be both procedurally and substantively unconscionable.”); Sanders v. Certified
LEWIS                 28 (footnote continued)
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 12                          8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 20 of 23 Page ID #:226




                       1 surprise, whereas the substantive aspect focuses on “overly harsh” terms, “unduly
                       2 oppressive” terms, or terms so one-sided that “shock the conscience.” Sanchez v.
                       3 Valencia Holding Co., LLC, 61 Cal. 4th 899, 910 (2015). All of these formulations
                       4 require a high degree of unfairness, well beyond “a simple old-fashioned bad
                       5 bargain.” Id. at 911.
                       6                      1.   The    Arbitration        Agreement         Is       Not     Procedurally
                       7                           Unconscionable.
                       8            An arbitration agreement cannot be rendered unenforceable just because it is
                       9 offered on a “take it or leave it” basis. Miguel v. JPMorgan Chase Bank, N.A., 2013
                      10 U.S. Dist. LEXIS 16865, at *10 (C.D. Cal. Feb. 5, 2013) (citing Lagatree v. Luce,
                      11 Forward, Hamilton & Scripps LLP, 74 Cal. App. 4th 1105, 1127 (1999)). The
                      12 drafter is under “no obligation to highlight the arbitration clause of its contract, nor
                      13 [is] it required to specifically call that clause to [the plaintiff’s] attention.” Sanchez,
                      14 61 Cal. 4th at 914 (applying FAA and upholding arbitration term in an automotive
                      15 sales contract against a wide array of unconscionability challenges).
                      16            The Arbitration Agreement here is part of a short Order Agreement and is
                      17 featured prominently in its own standalone text box. It can’t be missed. After
                      18 plaintiffs placed their initial orders (and first assented to the Order Agreement), the
                      19 Order Agreement for each was uploaded to their personal Tesla Account, giving
                      20 ample time and opportunity to again review the Agreement at any time. The Order
                      21 Agreement is also available online to anyone for easy viewing. Barclay Decl. ¶4.
                      22
                      23
                           Car Ctr., Inc., 93 Va. Cir. 404, 406 (2016) (“A contract is said to be unconscionable
                      24   if no person in his senses would make it on the one hand and no fair and honest
                      25   person would accept it on the other. In practice, this means a court will not enforce a
                           contract or contract provision if, it is both procedurally and substantively
                      26   unconscionable.”); Bagley v. Mt. Bachelor, Inc., 356 Ore. 543, 554 (2014) (under
                      27   Oregon law, the test for unconscionability has both procedural and substantive
                           components).
LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 13                                8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 21 of 23 Page ID #:227




                       1 Each plaintiff also had the opportunity to opt out, though none did, and all went
                       2 through with the sale. Ahluwalia Decl. ¶¶7, 10, 14, 18.
                       3            Further, in connection with the delivery of their vehicles, all plaintiffs
                       4 subsequently reaffirmed their assent to the Order Agreement, giving them additional
                       5 notice and opportunity to review the document in full. And the significance of the
                       6 purchases—Tesla’s premium model, all-electric sedan—gave plaintiffs every
                       7 incentive to review the documents to which they had agreed. Lastly, both the New
                       8 Vehicle Warranty and the Used Vehicle Warranty contain the same Arbitration
                       9 Agreement. Ahluwalia Decl. Exs. 12-13. In short, plaintiffs have no basis to claim
                      10 “oppression” or “surprise” and could never establish procedural unconscionability.
                      11                      2.    The    Arbitration       Agreement         Is    Not     Substantively
                      12                            Unconscionable.
                      13            Substantive unconscionability evaluates whether the terms of the agreement
                      14 create an “overly harsh” or “one-sided” result. Serpa v. Cal. Surety Investigations,
                      15 Inc., 215 Cal. App. 4th 695, 703 (2013); see also Chavarria, 733 F.3d at 921-22 (“A
                      16 contract is substantively unconscionable when it is unjustifiably one-sided to such
                      17 an extent that it `shocks the conscience’”). The Arbitration Agreement easily clears
                      18 any substantive unconscionability hurdle because it:
                      19            • is mutually binding—both plaintiffs and Tesla must arbitrate “any dispute”
                      20                 and the Arbitration Agreement.
                      21            • gives consumers the right to opt-out—which none of them did.
                      22            • calls for a neutral arbitrator—the arbitration will be administered by
                      23                 AAA under its Consumer Arbitration Rules.”12
                      24            • allows for adequate discovery—AAA rules provide for an “Exchange of
                      25                 Information” consistent with the streamlined proceedings the parties
                      26
                      27   12
                                              https://www.adr.org/sites/default/files/Consumer%20Rules.pdf.
LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                  14                            8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                       TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 22 of 23 Page ID #:228




                       1                 agreed to. See AAA Rule 22.
                       2            • requires a written award and reasoned opinion. See AAA Rule 43.
                       3            • allows plaintiffs to bring any claims—the Agreement permits plaintiffs to
                       4                 bring any claims in their “individual capacity.”
                       5            • does not require plaintiffs to pay any costs—making arbitration even less
                       6                 expensive than filing a lawsuit.
                       7           In short, plaintiffs have no basis to avoid the Arbitration Agreement, and it is
                       8 fully enforceable under the FAA.
                       9 III.       THE COURT SHOULD DISMISS                  THE    CASE SO        THE   PARTIES CAN
                      10            BILATERALLY ARBITRATE.
                      11            “[A] district court may either stay the action or dismiss it outright when, as
                      12 here, the court determines that all of the claims raised in the action are subject to
                      13 arbitration.” Johnmohammadi v. Bloomingdale’s, Inc., 755 F.3d 1072, 1074 (9th
                      14 Cir. 2014). Accordingly, “[t]he weight of authority clearly supports dismissal of the
                      15 case when all of the issues raised in the district court must be submitted to
                      16 arbitration.” Alford v. Dean Witter Reynolds, Inc., 975 F.2d 1161, 1164 (5th Cir.
                      17 1992); see e.g., Loewen v. Lyft, Inc., 129 F. Supp. 3d 945, 966 (N.D. Cal. 2015)
                      18 (granting motion to compel and dismissing case because there was no “compelling
                      19 reason to keep this case on the Court’s docket”). Because all of the claims are
                      20 subject to arbitration, there is no reason to keep this case open on the Court’s
                      21 docket. The case should be dismissed.
                      22 //
                      23 //
                      24 //
                      25 //
                      26 //
                      27 //

LEWIS                 28 //
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                                 15                            8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                      TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
                   Case 8:19-cv-01422-JLS-JDE Document 15 Filed 12/04/19 Page 23 of 23 Page ID #:229




                       1 IV.        CONCLUSION
                       2            The Court should interpret the parties’ Agreement and follow Concepcion,
                       3 which requires arbitration on an individual basis with individual remedies. The
                       4 action should then be dismissed.
                       5
                       6 DATED: December 4, 2019                  LEWIS BRISBOIS BISGAARD & SMITH                   LLP

                       7
                       8                                          By:
                                                                        Eric Y. Kizirian
                       9                                                Attorneys for Defendant Tesla, Inc.
                      10
                      11
                      12
                      13
                      14
                      15
                      16
                      17
                      18
                      19
                      20
                      21
                      22
                      23
                      24
                      25
                      26
                      27

LEWIS                 28
BRISBOIS
BISGAARD
& SMITH LLP                4842-1735-0830.5                              16                          8:19-cv-01422-JLS-JDE
ATTORNEYS AT LAW
                                                   TESLA’S MOTION TO COMPEL INDIVIDUAL ARBITRATION
